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  1
  2                          UNITED STATES DISTRICT COURT
  3                          SOUTHERN DISTRICT OF FLORIDA
  4
  5             HEAD KANDY, LLC,                       )
                                                       )
  6                  Plaintiff/                        )
                     Counterclaim Defendant,           )
  7                                                    )
                             vs.                       )      No.
  8                                                    )      23-CV-60345-JB/JMS
                KAYLA MARIE MCNEILL,                   )
  9                                                    )
                     Defendant/                        )
 10                  Counterclaimant/                  )
                     Third-Party Claimant,             )
 11                                                    )
                             vs.                       )
 12                                                    )
                JEROME FALIC and JONATHAN              )
 13             ROSENBAUM,                             )
                  Third-Party Defendants.              )
 14             -------------------------              )
 15
 16
 17                                          August 7, 2024
 18                                          10:07 a.m.
 19
 20                          Deposition of JONATHAN ROSENBAUM, held
 21                    at the offices of Veritext, 7 Times Square,
 22                    16th Floor, New York, New York, before
 23                    Laurie A. Collins, a Registered Professional
 24                    Reporter and Notary Public of the State of New
 25                    York.

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                                     EXHIBIT 3
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   1
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   1
   2            A P P E A R A N C E S (continued):
   3
   4                                      - and -
   5                  L.E. BURGESS P.A.
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   9                          (via videoconference)
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  11
  12            ALSO PRESENT:
  13                  KAYLA MARIE McNEILL
  14                  KAYLIN CULP
  15                  GINA GAZZINGA
  16                  DEVERELL WRITE, Videographer
  17
  18
  19
  20
  21
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   1                                       Rosenbaum
   2                  A.     I don't -- I mean, you'd have to ask
   3           him.     I don't remember.         To me it was more
   4           lamenting, just complaining.
   5                  Q.     So I understand your involvement ramped
   6           up in July of '22, as you said.                  Do you recall any
   7           services at all that you performed with regard to
   8           Head Kandy prior to July of '22?
   9                  A.     No.
  10                  Q.     When did you first discuss becoming
  11           involved with Head Kandy in July of '22?
  12                  A.     Beginning of July.               I don't remember
  13           the exact date.
  14                  Q.     Was that a conversation with Mr. Falic?
  15                  A.     Mr. Falic.
  16                  Q.     What did the two of you discuss?
  17                  A.     He wanted me to start spending time
  18           down there and trying to understand, you know, if
  19           there were opportunities to grow the business.                      He
  20           just really wanted to grow the business, at that
  21           point.
  22                  Q.     Was that expressed to you in a single
  23           conversation or a series of conversations?
  24                  A.     I'm sure it's a series.               I don't
  25           remember, but I'm sure it was more than one.

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   1                                      Rosenbaum
   2                  Q.    Did the two of you discuss whether or
   3           not you'd have a title?
   4                  A.    No title.
   5                  Q.    Did you discuss a formal role with the
   6           company?
   7                  A.    No.
   8                  Q.    Did you discuss compensation?
   9                  A.    No.
  10                  Q.    Can you tell me your initial
  11           involvement with Head Kandy in that July '22 time
  12           period?
  13                  A.    At the beginning I just went down there
  14           to try to figure out, you know, what was going on,
  15           try to get a handle on the business the best of my
  16           ability.
  17                  Q.    Was there an introductory period with
  18           the other owners or employees with Head Kandy?
  19                  A.    I flew down there at one time.            I think
  20           I flew down there by myself to meet Ms. McNeill,
  21           her husband, maybe some other people down there.
  22           That was July.
  23                  Q.    And when you say you flew down there,
  24           where did you fly to?
  25                  A.    North Carolina, Charlotte, maybe.

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   1                                      Rosenbaum
   2                  Q.      Do you know what Mr. Feldman's role
   3           with Head Kandy was in July of '22?
   4                  A.      I don't know what his role was, no.
   5                  Q.      Do you know what Ms. McNeill's role was
   6           with Head Kandy in July of '22?
   7                          (Ms. Gazzinga joins proceedings.)
   8                  A.      She was running the business.          I don't
   9           know if she was the CEO.            I think she had a chief
  10           title.      I don't remember exactly what it was.             I'm
  11           not really a title person.
  12                  Q.      That's perfectly fine.
  13                          Do you recall anything else you did
  14           during your initial visit in July of '22 other
  15           than what we've discussed?
  16                  A.      I don't recall.         I don't recall.
  17                  Q.      What did you do vis-à-vis Head Kandy
  18           following that initial July '22 visit?
  19                  A.      I can't pinpoint days, but I started
  20           analyzing the business, trying to figure out what
  21           the sales were, just figure out ways to start to
  22           grow it, or help grow it, at least.
  23                  Q.      What did you do to analyze the
  24           business?
  25                  A.      I think I started looking at it -- I

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   1                                      Rosenbaum
   2           80-90 percent of your business?                What do you have?
   3                         I determined whenever I did that Head
   4           Kandy maybe had 100 SKUs that were driving most of
   5           the business out of the 1,000.                And I think the
   6           inventory was over $3 million at cost, for a
   7           business that I think did 10 million, which is
   8           insane.
   9                  Q.     When did you ultimately make that
  10           determination that roughly 100 SKUs were the top
  11           selling?
  12                  A.     Whenever I saw what -- I don't know if
  13           it was 100.     Whatever the top sellers were.             It
  14           certainly wasn't 1,000 or more than 1,000.
  15                  Q.     Were you ever provided information
  16           concerning the MOQs?
  17                  A.     Some of -- 1,000 SKUs to manage the
  18           MOQs is difficult.        I think on reorders, once I
  19           started getting a handle on it, I started to
  20           seeing what we could get away with ordering.
  21                  Q.     Do you recall what period of time it
  22           was when you first acquired that information?
  23                  A.     Whenever I saw that we had no money and
  24           had no cash and had an over $3 million inventory
  25           at cost for a business doing 10 or less than $10

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   1                                      Rosenbaum
   2           million, that's when I started really trying to
   3           dive into what was going on.
   4                  Q.     I'm just trying to understand the time
   5           period.     That's why I keep referring to it.            So
   6           with regard to the debt that you spoke about that
   7           concerns you, do you recall when you learned of
   8           the company's debt?
   9                  A.     I want to say sometime in August or
  10           September, beginning/end.
  11                  Q.     So based upon what you just shared with
  12           me, is it fair to say that you learned about some
  13           of the information concerning the MOQs after
  14           August or September?
  15                  A.     As we ordered -- as things came up to
  16           order is when I would see what the MOQ was.               So if
  17           you have to reorder something, how many are you
  18           going to order?      If you have to order 10,000 and
  19           that's two years' worth of inventory, that's a
  20           problem.
  21                  Q.     Did you say you don't recall when you
  22           determined what the top-selling SKUs were?
  23                  A.     I don't recall.
  24                  Q.     Did you initially determine that the
  25           company had too many SKUs more based upon your gut

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   1                                        Rosenbaum
   2           feeling?
   3                  A.     No, no.       When I got there, I started
   4           analyzing.     That's when I realized the company had
   5           a lot of excess SKUs.
   6                  Q.     Okay.      When did you feel as though you
   7           had adequate information to make that
   8           determination?
   9                  A.     About too many SKUs?
  10                  Q.     Yes.
  11                  A.     Whenever I was told the company had
  12           1,000 SKUs, based on having over $3 million worth
  13           of inventory, that's when I realized that you just
  14           have -- you just have too much inventory.
  15                  Q.     So that's really what you needed to
  16           make the determination was the --
  17                  A.     1,000 SKUs in a business with not a lot
  18           of people is very hard to manage.               How can you
  19           manage 1,000 SKUs?
  20                  Q.     That's what I'm trying to understand is
  21           basically the insight that you had --
  22                  A.     My business was 100 something million
  23           dollars.     We didn't have 1,000 SKUs.            It's just a
  24           lot of SKUs for a business that size to manage.
  25                  Q.     When you say your business, you're

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    1                                        Rosenbaum
    2           with?
    3                   A.       So is Bubble, by the way.      Both of them
    4           have.        Londontown with nail polish, they might
    5           have 300 SKUs.        Bubble has about 50 max.
    6                   Q.       So going back to what you needed to
    7           make -- sorry, strike that.
    8                            Going back to the information you
    9           needed to come to the conclusion that Head Kandy
  10            had too many SKUs, was it just the amount of
  11            inventory compared to the number of SKUs and the
  12            cash on hand?
  13                    A.       It was not just the amount of
  14            inventory; it was the age of the inventory, which
  15            was years old.
  16                    Q.       How did the age of the inventory factor
  17            in?
  18                    A.       Inventory shouldn't -- once it gets
  19            past a certain point, you write it off; it's just
  20            obsolete.
  21                    Q.       Do you know if the inventory that was
  22            years old that you referred to had a shelf life?
  23                    A.       Some of it.      The -- the appliances or
  24            the hair driers wouldn't have had a shelf life,
  25            but they would have -- obviously if an appliance

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    1                                        Rosenbaum
    2                   A.    I think so.         I'm not an expert in this
    3           so...
    4                   Q.    So you don't know what platform?
    5                   A.    No.
    6                   Q.    Were there any recommendations that
    7           Blake's report contained that you recall?
    8                   A.    I recall him saying whoever was
    9           spending the money or deciding what to spend had
  10            no idea what they were doing and that we were just
  11            throwing away money for nothing.                It just
  12            wasn't -- you know, it's all about customer
  13            acquisition.        So if you're not generating new
  14            customers, then the money's not spent properly.
  15                    Q.    And is that specifically related to
  16            expenses through social media?
  17                    A.    Social media, boosting lives he said
  18            were ridiculous, just costing us money, we were
  19            getting nothing out of it, you weren't getting
  20            your sales.     He just said the spend was the worst
  21            he's ever seen, I think is what his words were.
  22            The report is -- I'm sure you can look at the
  23            report.
  24                    Q.    Okay.      After you received the report,
  25            did you talk with or meet Blake to discuss the

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    1                                          Rosenbaum
    2           report?
    3                   A.      Yes.     We had -- I had a conference call
    4           with Blake.
    5                   Q.      Was anyone else on that conference
    6           call?
    7                   A.      I think I had a couple conference
    8           calls.       I think I had a conference call with
    9           Jerome on the report, and I think I had another
  10            conference call with Kayla, who introduced her to
  11            Blake.
  12                    Q.      Do you recall any of the specifics of
  13            either of those calls?
  14                    A.      I think Jerome got angry on the call,
  15            and Kayla to my surprise took it pretty well.               I
  16            think she listened, and I think she took the
  17            report pretty well at the time.
  18                    Q.      Were you able to determine what you
  19            thought Jerome got angry about during the call?
  20                    A.      Yeah.      I think Jerome trusted whoever
  21            was deciding to spend the millions and millions of
  22            dollars that was spent, and he felt it was just
  23            thrown away.       Jerome's theory was that we weren't
  24            spending enough money, so he thought if we spent
  25            more and more -- this report basically said we

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    1                                      Rosenbaum
    2           spent way too much money; and if we were going to
    3           spend that much money, we certainly didn't spend
    4           it in the right places.
    5                         It was completely just -- you can read
    6           the report.     It was pretty much just thrown away.
    7                  Q.     Did you have any conversations with
    8           Jerome after the two of you spoke with Blake?
    9                  A.     I'm sure.
  10                   Q.     About the spend?
  11                   A.     I'm sure.
  12                   Q.     Do you recall if the two of you made
  13            any determinations as to how to address the
  14            findings of Blake's report?
  15                   A.     I think we -- I don't remember the
  16            timing, but it was basically determined that we're
  17            going to have to revamp how we spend money going
  18            forward and the people that were deciding where
  19            and when to spend it.
  20                   Q.     Do you know who the people were who
  21            were responsible for spending that money?
  22                   A.     It was Kayla and I think her friend
  23            John Max.
  24                   Q.     When you say --
  25                   A.     There was another person, I think.

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    1                                      Rosenbaum
    2                  Q.     Going back to the overall discussion on
    3           expenses and efforts to change them, we had talked
    4           about who was making the decisions concerning
    5           expenses when you came on board.              And I believe
    6           you said it was Ms. McNeill, Mr. Feldman, and
    7           Mr. Falic; is that correct?
    8                  A.     I mean, I don't know who's actually
    9           making those decisions.           Knowing Jerome the way I
  10            do, I doubt he was involved in the day-to-day.                So
  11            I would -- according to Bryan, it was Kayla.
  12            Kayla decided all the expenses.
  13                   Q.     When we were talking about changes made
  14            shortly after Ms. McNeill was terminated, I
  15            believe you made a comment to Ms. McNeill left and
  16            buried the company.        Do you remember that comment?
  17                   A.     Uh-huh.
  18                   Q.     Can you tell me what you meant by that?
  19                   A.     She went online and bad-mouthed the
  20            company.     She said we're exploiting her children,
  21            her family, these people stole by company, they're
  22            horrible.     She made reference to Jerome's kids, to
  23            Jerome.     She made some pretty nasty comments about
  24            the business and the people running it.
  25                   Q.     How did you learn of those comments?

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    1                                      Rosenbaum
    2           false statement?
    3                  A.    Because I don't think the company was
    4           stolen from her.
    5                  Q.    And what do you base that on?
    6                  A.    Based on I don't even know who owns the
    7           company.    I don't feel Ms. McNeill is a victim in
    8           any way.
    9                  Q.    You just said if anybody stole from the
  10            company it was Ms. McNeill.              Can you explain to me
  11            what you mean by that?
  12                   A.    How -- you want me to give you
  13            instances that I think she stole from the company?
  14                   Q.    Yeah, what leads you to believe that
  15            she stole from the company?
  16                   A.    What I found was she had personal
  17            employees on the company that were doing personal
  18            things for her.      She was charging a barn in
  19            Colorado.    They were paying rent on a barn that
  20            wasn't even finished.          They were paying for a
  21            dumpster every month.          They were paying for a
  22            forklift that -- I think $2,000 a month that I
  23            could buy for maybe $500.            It was an old propane
  24            that was worthless.
  25                         She was charging -- I mean, in 2022, I

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    1                                        Rosenbaum
    2           know that she paid back the company I think 25 or
    3           30 thousand dollars' worth of charges that she had
    4           used on the company AmEx.              She was given the
    5           opportunity to go backwards and see whatever else
    6           charges there were.
    7                            There was liposuction or lap band
    8           surgery on the AmEx is that she tried to say she
    9           paid some of it, not all of it.                 There were a
  10            multitude of things.           There was a photographer
  11            that she brought with her to Cancun that my
  12            understanding was really just there to babysit her
  13            kids.
  14                    Q.       I tried my best to get them all down.
  15            I'm going to read them back to you that I took
  16            down.        If I missed one, please tell me.           I have
  17            personal employees, a barn lease, a forklift --
  18                    A.       There was no lease; they were just
  19            paying it.        There was a rental of the barn that
  20            wasn't even being used for returns.
  21                    Q.       So I'll start over to make sure we have
  22            them all.        Personal employees, barn rental,
  23            forklift rental, lap band surgery.
  24                    A.       Dumpster rental.
  25                    Q.       Dumpster rental.

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    1                                      Rosenbaum
    2                  Q.    So one was a house cleaner?
    3                  A.    I don't remember what each one did.
    4           You can ask Ms. McNeill.            She didn't deny it.     She
    5           basically told us what they did.
    6                  Q.    Do you recall any others other than the
    7           house cleaner?
    8                  A.    Yeah, there were others:            baby-sitters,
    9           house cleaners, someone I think to tutor her kid.
  10            I don't have the breakdown.              It exists somewhere.
  11                   Q.    Would that be in Klei's records?
  12                   A.    It would be in Klei's records, and
  13            there was an email that was sent to Ms. McNeill
  14            spelling out them.
  15                   Q.    Do you know what the total expense to
  16            Head Kandy was for those personal employees?
  17                   A.    I don't.      I mean, for the years they
  18            were there, I think it was well over a hundred
  19            grand, but I don't have the exact figure.              Again,
  20            I think it's spelled out in the email.
  21                   Q.    How did you learn of the barn rental?
  22                   A.    I didn't understand -- I saw -- I
  23            started looking at all the expenses, and I didn't
  24            understand the reasoning for the barn rental.               And
  25            then I asked Kayla what they were doing there, and

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    1                                      Rosenbaum
    2           she said that's where they process all their
    3           returns, in the barn.
    4                        I said why would they process the
    5           returns; why wouldn't they bring it here.                 She
    6           gave me a convoluted reason.              And then I --
    7           someone -- I think Shawna -- actually sent me a
    8           picture of the barn.         It didn't even have a floor.
    9           It wasn't even finished.            It was dirt.    There was
  10            no one working in the barn.
  11                    Q.   There were no Head Kandy products in
  12            the barn?
  13                    A.   There wasn't a floor in the barn.                  It
  14            wasn't finished.       So we were paying for a barn
  15            that wasn't finished.
  16                    Q.   Head Kandy was paying for use of
  17            something that was being used that wasn't being
  18            used?
  19                    A.   That wasn't being used.
  20                    Q.   Where was this expense recorded?
  21                    A.   We paid it every month.            We paid a
  22            check to Kayla or Kayla and Dusty for I think it
  23            was $2,000 a month.        It went on for years.
  24                    Q.   In the report you were looking at, was
  25            it --

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    1                                      Rosenbaum
    2                  A.    It wasn't a report; it was a monthly
    3           expense.    There was a rental expense that Yvelisse
    4           and Klei -- Kayla would ask for her check, and
    5           they would give it to her.             I didn't understand
    6           what it was.     I asked Kayla.           She told me what it
    7           was.
    8                        Then when I started poking around, I
    9           realized that it wasn't what it was supposed to
  10            be.    Then I started -- well, you can ask me more
  11            about the barn, and I'll go on to the other
  12            expenses.
  13                   Q.    What did Ms. McNeill tell you was being
  14            performed at the barn?
  15                   A.    The returns for home shopping.            That's
  16            where they were processing all the returns and
  17            cleaning them and doing all that work.
  18                   Q.    And I believe you previously said there
  19            were a lot of returns from the home shopping?
  20                   A.    I never really figured out how --
  21            whether there were a lot or not.
  22                   Q.    Did you determine where those returns
  23            were actually being processed?
  24                   A.    I vaguely remember -- and I think it
  25            came from Shawna -- that they were actually going

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    1                                      Rosenbaum
    2           to her mother-in-law's house or someone else's
    3           house; and they were being done there, and we were
    4           paying people to do that.            They were going to
    5           homes, individual homes, and done there.
    6                         I never got a straight story.           I said
    7           this has to end.
    8                  Q.     You said her mother-in-law.           Was it
    9           Shawna's mother-in-law or Kayla's mother-in-law?
  10                   A.     I don't remember.           I'm not sure who it
  11            was.
  12                   Q.     So you learned from Shawna that the HSN
  13            returns were being processed at somebody's
  14            residence?
  15                   A.     Yes, plus she sent me pictures and I
  16            got plans that weren't complete of Kayla's barn
  17            that showed that they still haven't even completed
  18            it yet.     So the barn wasn't complete to operate,
  19            so there was no way that they were doing the
  20            returns at the barn.
  21                   Q.     Did you confront Ms. McNeill with the
  22            information you received from Shawna?
  23                   A.     I did.
  24                   Q.     What did she tell you?
  25                   A.     That was the deal; this is income.             She

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    1                                      Rosenbaum
    2           just made excuses.        She never denied that they
    3           weren't being processed there; she just tried to
    4           justify she is underpaid, she's this, she's that.
    5           I got a whole song and dance of why we need to pay
    6           that to her.
    7                  Q.    So when you confronted her the second
    8           time, did she acknowledge that the returns were
    9           being processed in someone's home as opposed to
  10            the barn?
  11                   A.    She never acknowledged it either way.
  12            She just said she was entitled to the money; that
  13            was the agreement.        She never acknowledged that
  14            the returns weren't being done at the barn or
  15            that -- she never -- she never admitted it or
  16            denied it; she just justified the money.
  17                   Q.    So initially she told you they were
  18            being processed in the barn; and then when you
  19            confronted her with Shawna's information, she
  20            deflected?
  21                   A.    Yes, but just never admitted either
  22            way, but she justified she's been charging that
  23            and that's her money.
  24                   Q.    Do you know who Shawna learned that the
  25            orders weren't being processed in the barn?

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    1                                      Rosenbaum
    2                  A.    No.     Shawna is from there, I mean.             I
    3           think Shawna went to Kayla's house.            I think
    4           Shawna cooked her Thanksgiving meals.
    5                  Q.    Right.     When you say "there," are you
    6           referring to Salida, Colorado?
    7                  A.    Salida.
    8                  Q.    Did you have any other discussions
    9           concerning the barn rental other than the ones we
  10            discussed?
  11                   A.    I mean, I discussed it with Jerome.
  12                   Q.    What was your discussion with Jerome?
  13                   A.    Jerome -- Jerome never -- Jerome wasn't
  14            even aware that we were paying for the barn.               I
  15            guess Bryan was aware.          And then Jerome just said
  16            let's just move the returns to -- we have this
  17            warehouse; we can move them there.
  18                   Q.    Did Bryan tell you why Head Kandy was
  19            renting the barn?
  20                   A.    Yeah.     He said he thought we were
  21            doing -- processing the returns there.             He
  22            actually said that -- when they did the original
  23            warehouse -- I think they had a smaller warehouse
  24            in North Carolina that they started with, and it
  25            supposedly didn't have enough room.

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    1                                        Rosenbaum
    2                         And he never got on top of the fact
    3           that once they moved to the bigger warehouse they
    4           would have had room.           It just got lost.
    5                         The fact is they were never processing
    6           returns in the barn, if you take a look.                I mean,
    7           the barn might be finished now, but it wasn't
    8           finished when -- back in 2022.
    9                  Q.     In the report that you received, was it
  10            identified as barn rental?
  11                   A.     Yes.     It wasn't a report; it was an
  12            expense:     This is a $2,000 wire to Kayla McNeill,
  13            and this is barn rental, dumpster rental, hi-lo
  14            rental.     That was a monthly number that just went.
  15            We paid her.
  16                   Q.     Who generated that expense report?
  17                   A.     It wasn't an expense report; it was
  18            just a payment.        There was no expense report; it
  19            was a payment.       There was no expense.
  20                   Q.     So this was on Head Kandy's bank
  21            statement?
  22                   A.     No, no.       We wired it.        Every day --
  23            when I was monitoring the money that we had very
  24            little money, I started looking at everyday
  25            payments and I started seeing monthly these

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    1                                      Rosenbaum
    2                  A.     No, no.     It was a report that Klei and
    3           Kaylin would give on -- every day bill that was
    4           being paid.     You can generate those.         You can get
    5           those reports.        It will be clear this is the
    6           payments.
    7                  Q.     Okay.
    8                  A.     It wasn't a history thing; it was a
    9           move forward thing.        Once I found out what was
  10            going on, I did go back in history and figure out
  11            that they were paying for these things for a few
  12            years.
  13                   Q.     Okay.     And in the report there was a
  14            description for each payment, and that's where it
  15            said --
  16                          (Discussion off the record.)
  17                   Q.     And that's where the description was?
  18                   A.     Yes, we're paying this, this, and this;
  19            dumpster payment, dumpster rental, forklift
  20            rental, and barn rental.
  21                   Q.     Okay.     Let's go to the forklift rental.
  22            Do you remember how much that was?
  23                   A.     $1,000 a month.
  24                   Q.     When did these reports start being
  25            generated by either Klei or Kaylin?

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    1                                      Rosenbaum
    2                  A.    Whenever I got involved -- whenever --
    3           probably October-ish or end of September when I
    4           started getting involved in the payments.                 When I
    5           realized how tight the business was, I had to
    6           monitor what we were paying every day.
    7                        I didn't want to borrow any more money
    8           from Leon, so I had to exist -- Jerome made it
    9           clear he's not paying any more money.                 So we had
  10            to exist on the cash flow that was being
  11            generated.
  12                   Q.    What did you do when you learned of the
  13            forklift rental?
  14                   A.    When I originally thought it was high
  15            and then when I actually went and saw the
  16            forklift, I realized you could buy that forklift
  17            for less than a thousand dollars.                 It was an old
  18            propane -- it wasn't even -- it was one of those
  19            propane smelly forklifts that you turn on, it's
  20            like diesel and it stinks up.                 It was so old it
  21            wasn't -- you shouldn't even have been using it in
  22            that warehouse.      That forklift was antiquated.
  23                   Q.    Do you know why it was being used?
  24                   A.    I have no idea why it was being used.
  25            But we definitely got a new forklift.                 I got rid

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    1                                        Rosenbaum
    2           of that thing and got a new one when Jim came in.
    3                   Q.       That was February of '23?
    4                   A.       February, yeah.
    5                   Q.       Did you inquire about the forklift
    6           rental once you discovered it?
    7                   A.       Yeah.   I think I discussed it with
    8           either Dusty or Kayla.            Again, deflecting:      Well,
    9           this was the deal; this is my forklift.                I was
  10            like, Kayla, the forklift is -- I could buy a
  11            forklift for half that for one month.
  12                    Q.       What did she say to that?
  13                    A.       Nothing.    What are they going to say?
  14            There's nothing to say.             You can't deny it, I
  15            mean.        You can go Google it.          It was an antiquated
  16            propane forklift.
  17                    Q.       Was she agreeable or encouraging with
  18            regard to the prospect of Head Kandy acquiring a
  19            new forklift?
  20                    A.       I don't -- I think she was upset we
  21            weren't going to pay her $1,000 a month.                I don't
  22            remember what she even thought about a forklift.
  23            Kayla is in Kayla's own world so...
  24                    Q.       When did those rental payments for the
  25            forklift cease?

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    1                                      Rosenbaum
    2                  A.     I think January.           I think to be nice we
    3           paid them up until December, but it could have
    4           ended in December.        I just don't remember.        And
    5           the dumpster.
    6                  Q.     Did you talk to Bryan Feldman about the
    7           forklift rental?
    8                  A.     Absolutely.
    9                  Q.     What did he tell you?
  10                   A.     He shrugged -- he, don, I thought it
  11            was okay.     They trusted -- they trusted, you know,
  12            Dusty and Kayla.       That's what they did.
  13                   Q.     Did he tell you he was aware of the
  14            forklift rental?
  15                   A.     Oh, yeah.      He was aware of the barn
  16            rental.     He didn't deny being aware of anything.
  17                   Q.     What about the dumpster rental, when
  18            did you become aware of that?
  19                   A.     It was all about the same time.
  20                   Q.     Okay.
  21                   A.     Once one thing doesn't make sense, you
  22            start looking for others.            The dumpster, again,
  23            made no sense.
  24                   Q.     Do you recall what the amount of --
  25                   A.     $1,000 a month.

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    1                                      Rosenbaum
    2                  Q.    Did you talk to anybody about this
    3           dumpster rental after you discovered it?
    4                  A.    That -- I talked to Bryan.           I don't
    5           remember specifically if I talked to Kayla or
    6           Dusty on the dumpster.
    7                  Q.    What did Bryan tell you?
    8                  A.    He just -- he felt that he was taken
    9           advantage of.      He didn't really have any defense
  10            for it.
  11                   Q.    Did you ever learn what the dumpster
  12            was being used for?
  13                   A.    No.    I just know it's not a thousand
  14            dollars a month to rent a dumpster.
  15                   Q.    How much is a reasonable rental rate
  16            for a dumpster equivalent to that?
  17                   A.    I mean, we could have bought one for --
  18            you probably could have bought one for 5, 6
  19            thousand, but probably a few hundred dollars, 2, 3
  20            hundred dollars, maybe.
  21                         I don't even know if we needed a
  22            dumpster.    I have no idea.
  23                   Q.    So after you learned of the dumpster
  24            rental and you talked with Bryan, what did you do
  25            concerning the dumpster?

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    1                                      Rosenbaum
    2                  A.     Again, all the payments were ceased at
    3           a certain date.
    4                  Q.     And that's around December?
    5                  A.     December or January we stopped.           I
    6           don't think they even fought us on that.              I think
    7           they realized that there was not much they could
    8           do, it didn't make any sense.
    9                  Q.     That was around the time they were
  10            terminated too; right?
  11                   A.     I think it was before they were
  12            terminated that we...
  13                   Q.     Because they talked about Ms. McNeill
  14            being terminated at the end of January, I believe.
  15                   A.     Yeah, but -- it definitely stopped
  16            before she was terminated.             And we definitely
  17            talked about it prior to termination.
  18                   Q.     Let's talk about this photographer in
  19            Cancun.     Is this the same individual that
  20            Mr. Thompson replaced?
  21                   A.     I don't know if that's -- I think this
  22            person quit.     The only reason I knew about that is
  23            I remember seeing some kind of 20,000 -- I was
  24            going back.     I saw a $20,000 charge to some
  25            photographer that went to Cancun, and I couldn't

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    1                                      Rosenbaum
    2                  A.    The affiliate.          I did a little bit of
    3           searching about -- John Max, according to Kayla,
    4           was this big -- he worked for a company called
    5           Jones Road, which is a big cosmetic company.
    6           They're owned by Bobbi Brown.                 I know the COO
    7           there.
    8                        So according to Kayla, John Max does
    9           all their digital marketing and he's grown their
  10            business and he's done this, and he's done that.
  11            And I said to myself I know the CEO there -- COO,
  12            a guy by the name of Steve Levine.                 There is
  13            absolutely no way based on Blake Ruschman's report
  14            and if that's true that John Max is the man.
  15                         So I called Steve Levine.               Steve Levine
  16            told me that John Max did not work for Jones Road,
  17            never heard of John Max.            And that's when I said
  18            something's off here.
  19                         So originally K2 was really brought in
  20            to research the entire spend of the company,
  21            including AmEx, affiliates, and all that.
  22                   Q.    Who engaged K2?
  23                   A.    I did.
  24                   Q.    What information did you provide K2 to
  25            perform its work?

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    1                                        Rosenbaum
    2                   Q.       You just never made the comparison?
    3                   A.       I didn't make the comparison.          As far
    4           as I was concerned, it was about the current
    5           seeing how many new customers we could get.
    6                   Q.       What did you find when looking at those
    7           numbers?
    8                   A.       I found that we were making some
    9           progress with new customers.                But, again, the
  10            brand, there was -- it was still the old product
  11            line.        It was a very flea market -- it looked
  12            like -- to me, at least, it looks like a flea
  13            market.        It has some merch, it has sandals, nail
  14            dips, blow dryers.
  15                             It looked like a flea market, so it was
  16            difficult to really get the new customer
  17            acquisition that Jerome really wanted.
  18                    Q.       Did you feel as though the product line
  19            Head Kandy was offering was too diverse?
  20                    A.       I thought it was way too diverse.            I
  21            thought it was every -- it was a flea -- like I
  22            said, it was pretty much what I felt was a flea
  23            market.        It was anything that Kayla could sell we
  24            would go out and buy.
  25                    Q.       And what are the negative aspects of

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    1                                      Rosenbaum
    2           that?
    3                   A.    It's just excess inventory.             There's no
    4           brand direction.       It's hard to make a brand value.
    5           Can you do revenue?        Yeah, you can do revenue.
    6           There's no -- Kayla can sell anything.                But
    7           there's no brand identity.             You're not building
    8           the brand, in the space that I'm in.
    9                         And the negative is that the company in
  10            four years never made -- I mean, it was -- it was
  11            a disaster.     You had $3.5 million in inventory.
  12            You owed a million dollars in Leon.                You probably
  13            owed a couple hundred thousand dollars to Jerome.
  14            I think there were money owed to the shareholders
  15            because they paid their taxes.                There was an SBA
  16            loan for half a million dollars.                It wasn't a good
  17            story.
  18                    Q.    With regard to building the brand, do
  19            you believe that that requires focus on a very
  20            small, streamlined product segment?
  21                    A.    If the strategy was to build out,
  22            quote/unquote, Head Kandy and take the items in
  23            beauty and hair -- and hair can be a great
  24            space -- yeah, I think if you start putting in
  25            sandals and shirts and headbands and whatever else

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    1                                      Rosenbaum
    2           you want to sell, I do think it takes away from
    3           the brand identity.
    4                         And the key is if you're getting --
    5           think about it.        If you have -- if these are your
    6           customers (indicating) and these are your steady
    7           customers, they're only going to buy so much.                  So
    8           how do you increase -- if you want to increase
    9           your sales, how do you increase your sales with
  10            these if you have to introduce new items?                 If you
  11            have new customers, you can sell the same items to
  12            new customers and that will naturally increase
  13            your sales.
  14                   Q.     And --
  15                   A.     Londontown is a D2C brand.           They sell
  16            direct to consumer.        They're no -- they do sell
  17            new items, but they're not introducing thousands
  18            of items.     They're a nail brand.           They will
  19            take -- introduce some good sellers and if -- and
  20            discontinue the bad sellers.
  21                          So it's still the same amount of SKUs.
  22            They might introduce a new one and add one here,
  23            but they might retract it.             But they're going
  24            after new customers.         They have a strategy to go
  25            after new customers to keep the business viable.

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    1                                      Rosenbaum
    2                  Q.     Did Head Kandy sell nail polish?
    3                  A.     They did -- no, they sell nail gels.
    4                  Q.     How did their SKU counts for nail gels
    5           compare to, what was it, Londontown?
    6                  A.     I think it had -- I think it had more.
    7           I think Head Kandy actually had more SKUs than
    8           Londontown.
    9                  Q.     How did you feel Head Kandy performed
  10            with regard to customer retention?
  11                   A.     I think it did well with customer
  12            retention.     I think the customers were loyal.
  13                   Q.     We talked about Head Kandy's declining
  14            sales and how you believe Ms. McNeill contributed
  15            to that.     Are you aware of any other contributing
  16            factors to the decline in Head Kandy sales?
  17                   A.     I think -- I think the brand once --
  18            she was the brand.        So whether she bad-mouths the
  19            brand or not, she leaves the brand, I think the
  20            brand would suffer.        Even if she left amicably, I
  21            don't think the brand could be expected at year
  22            one to do as much business as they did with her
  23            than without her.
  24                   Q.     We talked about the use of social media
  25            accounts for Head Kandy and Kandy Life and that

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    1                                      Rosenbaum
    2           you felt that Head Kandy was spending too much
    3           money on Kandy Life because it was Kayla's
    4           account; is that right?
    5                  A.     It was an influencer page.          It was all
    6           the money.     As far as I was concerned, all the
    7           money was being spent, which wouldn't have been
    8           bad if she was just linking them together, she was
    9           going live on both and saying, okay, this is how
  10            we're going to build it.
  11                   Q.     Do you know if Head Kandy took over
  12            control of Kandy Life after Ms. McNeill was
  13            terminated?
  14                   A.     Yes, they did.
  15                   Q.     Do you know why?
  16                   A.     I think they felt that because they
  17            spent all the money it was theirs.            Kandy Life
  18            grew under the money that Head Kandy put into it.
  19            I don't know the legalese of it but...
  20                   Q.     Sure.    But your concern was there was
  21            too much money being spent on it because it was
  22            Kayla's account?
  23                          ATTORNEY LOEB:         Object to form.    Object
  24                   to form.
  25                   A.     I don't know whose account it was.            It

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    1                                      Rosenbaum
    2           was definitely a lifestyle account and showed her
    3           lifestyle.     I also thought that if you want to
    4           build a real brand it can't be so much dependent
    5           on one person's lifestyle.             You've got to build
    6           out the brand.
    7                         So I feel that that was a mistake.
    8           That's where all the money -- if they won, that
    9           wasn't where all the money was spent, it might
  10            have been a different -- different business.
  11                   Q.     Do you know if the Kandy Life page
  12            existed on day one?
  13                   A.     I don't know.         I don't know when it
  14            existed.     I never understood it.            I never
  15            understood the logic behind it.               I never -- I
  16            asked Kayla I think when I first started what --
  17            why does this exist.
  18                          And her theory, which wasn't a terrible
  19            theory, was that she didn't want to be a shill for
  20            the brand, to build out her lifestyle and she'll
  21            get more sales that way.
  22                          So it didn't seem so illogical, but I
  23            still never understood why it wasn't linked.                 You
  24            couldn't even link it on the site when she was
  25            promoting something.         It wouldn't even take you to

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    1                                      Rosenbaum
    2                  A.     Ms. McNeill also sent me a naked
    3           picture of herself in that same exchange, which I
    4           deleted.
    5                  Q.     Do you recall what was viewable of
    6           Ms. McNeill in that photo?
    7                  A.     I don't remember what was viewable.               I
    8           deleted it.     I was pretty shocked.          I'm sure we
    9           can find it to look at.
  10                   Q.     Do you recall if it was -- sorry,
  11            strike that.
  12                          Why do you believe she sent you that
  13            picture?
  14                   A.     I have no idea.          You should ask --
  15            Ms. McNeill talked about sex, her breasts, lack of
  16            sex with her husband, many times, with me.
  17                   Q.     With you?
  18                   A.     With me, to whoever would listen.            He
  19            even told me that he -- the only reason she
  20            married him is he knocked her up before they got
  21            married.    She also talked about her boobs, getting
  22            a boob job, she wanted to have a boob job.              They
  23            talked about them freely.
  24                   Q.     Did you ever tell Ms. McNeill that her
  25            dresses were too long?

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    1                                       Rosenbaum
    2           do any yoga.     So if -- I'll do it at work, I'll do
    3           it at studios, I get privates.
    4                  Q.    Who suggested that you, Kayla, and
    5           Kaylin do the October 4th yoga session?
    6                  A.    I don't remember who.               I know that
    7           Kayla started doing yoga and she was talking about
    8           it a lot and telling me how great it was that she
    9           lost weight.     I think she even went on social
  10            media to talk about it.
  11                         I might have said, Hey, great, let's do
  12            yoga, let's get an instructor.                 I wanted them to
  13            find -- there are plenty of private instructors,
  14            so I wanted them to find somebody to come in and
  15            just do a class of yoga at Head Kandy.
  16                   Q.    You said you had showered after the
  17            October 4th yoga.        Why did you shower at Head
  18            Kandy on that day?
  19                   A.    I had a flight going back.               I didn't
  20            want to sit on the plane with sweat.
  21                   Q.    So was that a flight going from North
  22            Carolina to New Jersey?
  23                   A.    Yes.
  24                   Q.    How many showers does Head Kandy's
  25            office have?

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    1                                       Rosenbaum
    2                  Q.    You mentioned in your deposition about
    3           things that Ms. McNeill would talk about in front
    4           of you or others at Head Kandy from time to time
    5           regarding sex.
    6                  A.    Yes.
    7                  Q.    Can you help us understanding really
    8           what Ms. McNeill would talk about?                 Was it kind of
    9           done freely and openly throughout the
  10            organization?
  11                   A.    Yes.
  12                   Q.    Tell us about that.
  13                   A.    She was very open about her breasts,
  14            her sex life with her husband, her -- or lack of
  15            it, her getting pregnant prior to getting married,
  16            and that she probably wouldn't have married Dusty
  17            if she hadn't gotten pregnant.
  18                         You can ask others.               I'm not the only
  19            one.
  20                   Q.    And we will.          We're going to have the
  21            opportunity to do that.            But today is our chance
  22            to talk to you about that.
  23                   A.    Okay.
  24                   Q.    With regard to the things that she
  25            would talk to you about individually or in front

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    1                                       Rosenbaum
    2           of others about, her husband, what do you mean by
    3           the sex life with her husband?                 Help us understand
    4           that.
    5                   A.   She didn't like having sex with her
    6           husband.
    7                   Q.   Would she make that known to you and
    8           others?
    9                   A.   Yes.
  10                    Q.   All right.         You mentioned she shared
  11            some I guess a photograph or something like that
  12            of her naked or nude or something like that?
  13                    A.   Pretty much naked.
  14                    Q.   Do you recall that text exchange as it
  15            occurred when she shared that photograph with you?
  16                    A.   Do I remember now or before?
  17                    Q.   Now.
  18                    A.   Now I do because I saw it in dep prep.
  19                    Q.   Do you recall Ms. McNeill when you
  20            reacted to that indicating to you that she thought
  21            you guys were going to be next-level friends at
  22            that point in time?
  23                    A.   Yes, that's what it said.
  24                    Q.   Did you respond, Hey, that sounds
  25            great, we're going to be next-level friends; or

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    1                                       Rosenbaum
    2           did you have a different reaction to that
    3           photograph when she sent it to you?
    4                   A.   I told her I was deleting it.
    5                   Q.   And is that what you did?
    6                   A.   Yes.
    7                   Q.   Why did you delete that photograph?
    8                   A.   I didn't want to look at it.
    9                   Q.   Did you feel it was inappropriate for
  10            her to be sending that to you.
  11                    A.   Yes.
  12                    Q.   In the face of all of these types of
  13            conversations or discussions that Ms. McNeill was
  14            having with you and these text messages and the
  15            allegations that we've heard some about today, was
  16            Ms. McNeill still asking you to do favors for her
  17            such as helping pick up cars or drive cars
  18            somewhere to help her parents out and stuff like
  19            that?
  20                    A.   Yes.
  21                    Q.   Can you tell us about that, based on
  22            your recollection?
  23                    A.   Yeah.      She had me one day -- I don't
  24            remember the exact date -- had me, instead of
  25            taking a car service to the airport, driving her

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    1                                      Rosenbaum
    2           being Head Kandy and Ms. McNeill, in --
    3                         ATTORNEY LOEB:         Go ahead, sorry.
    4                  Q.     -- the beginning of 2023?
    5                  A.     I'm not aware of any.
    6                  Q.     You mentioned Ms. McNeill speaking
    7           about sex with you and other employees.              Can you
    8           identify any of the other employees that she spoke
    9           about sex with?
  10                   A.     She spoke in front of anybody who was
  11            in front of her.       She spoke in front of Mindy when
  12            she was there.     She spoke in front of Ryan,
  13            Kaylin.     Whoever was there.           There was no bars as
  14            far as talking about her sex and her boobs and her
  15            lap band surgery and all that.
  16                   Q.     When did you hear her talking about her
  17            lap band surgery?
  18                   A.     All the time, many times.           She didn't
  19            want the customers to know.              She told them that
  20            she lost all her weight on a diet, but everyone
  21            else knew that she had the lap band surgery.
  22                   Q.     You were also asked about the potential
  23            being next-level friends with Ms. McNeill.              Do you
  24            know what that means?
  25                   A.     No idea.

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